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                                                                          U.S.D.C. - Gainesville

                                                                            NOV 1 9 2019
                                                                    JAMES N. HATTEN, Clerk
                                                                    By:   pR           Deputy Clerk
                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                        GAINESVILLE DIVISION

LAURA A. OWENS and JOSHUA
R. SMITH, individually and on
behalf of two classes of all others
similarly situated,

      Plaintiffs,

v.                                    : Civil Action File 2:14-cv-00074-RWS

METROPOLITAN LIFE
INSURANCE COMPANY,

      Defendant.

             FINAL JUDGMENT AND ORDER OF DISMISSAL

      This matter having come before the Court on the application of the parties

for final approval of the Settlement set forth in the Settlement Agreement, dated

July 24, 2019, for the Owens Class ("Owens Class Agreement") (Dkt. 212-1), and

the Owens Distribution Plan (Dkt. 212-2), and for final approval of the Settlement

set forth in the Settlement Agreement, dated July 24, 2019, for the Smith Class

("Smith Class Agreement") (Dkt. 213-1), and the Smith Distribution Plan (Mt.

213-2), and due and adequate notice having been given to each of the Classes,1 and


I Capitalized terms not otherwise defined herein shall have the meaning ascribed to
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the Court having considered all papers filed and proceedings had herein and

otherwise being duly informed in the premises and good cause appearing therefore,

it is this 19th day of November, 2019, ORDERED, ADJUDGED AND DECREED

THAT:

1.    This Court has jurisdiction over the subject matter of this litigation and over

      all parties to this litigation, including all members of the two Classes.

2.    The mailing of individual notice to each individual class member as

      specified in this Court's prior orders satisfies Federal Rule of Civil

      Procedure 23, any other applicable law, and due process, and constituted the

      best notice practicable under the circumstances; and due and sufficient

      notices of the Final Approval Hearing and the rights of all Class Members

      have been provided to all people, powers, and entities, entitled thereto.

3.    Pursuant to the Class Action Fairness Act, 29 U.S.C. § 1711, et seq., notice

      was provided to the Attorneys General for each of the states in which a

      Settlement Class Member resides, the Attorney General of the United States,

      and the United States Secretary of Labor. All requirements of the Class



them in the Owens Class Agreement and Smith Class Agreement.


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     Action Fairness Act, 29 U.S.C. § 1711, et seq., have been met.

4.   As to the Owens Class, one (1) class member sent an untimely objection to

     the Settlement Administrator that was not filed with the Court. No class

     members appeared at the hearing to object to the Settlement.

5.   Members of the Owens Class had the opportunity to be heard on all issues

     regarding the resolution and release of their claims by submitting objections

     to the Settlement Agreement to the Court.

6.   As to the Smith Class, two (2) class members filed a formal objection to the

     Settlement and no class members appeared at the hearing to object to the

     Settlement.

7    Members of the Smith Class had the opportunity to be heard on all issues

     regarding the resolution and release of their claims by submitting objections

     to the Settlement Agreement to the Court.

8.   Each and every Objection to the settlement is overruled with prejudice.

9.   The motions for final approval of the Owens Class and the Smith Class

     Settlement Agreements are hereby GRANTED, the settlements of the Class

     Actions are APPROVED as fair, reasonable and adequate to the Plans and

     the Classes, and the Settling Parties are hereby directed to take the necessary

     steps to effectuate the terms of the Settlement Agreements.
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10.   The Court hereby approves the Settlements set forth in the Settlement

      Agreements and in the Distribution Plans for each Class, and finds that said

      Settlements, Settlement Agreements and Distribution Plans are in all

      respects, fair, reasonable and adequate to all members of the Settlement

      Classes that include:

                                     Owens Class

             All life insurance beneficiaries of ERISA-governed
             employee benefit plans that were insured by group life
             insurance policies issued by MetLife that provide for
             payment in "one sum" for whom MetLife established a
             "Total Control Account" between April 18, 2008, and
             December 31, 2012. Expressly excluded from the class
             are beneficiaries under policies that, at the time of the
             insured's death, contained the statement in the policy
             certificate or an endorsement to the policy certificate that
             expressly states that claims for benefits can be settled "by
             establishing an account that earns interest."2

2 For purposes of the settlements, by agreement of the parties, a policy certificate is
deemed to include this language as of the date that MetLife's records produced in
this litigation indicate MetLife: (a) issued to the policyholder a rider that purported
to amend or clarify the policy to include this language; or (b) included such
language in a newly-issued certificate. In addition, based upon documents
produced by MetLife and deposition testimony provided on its behalf, for all
policies and customers for whom a specific rider or certificate has not been
identified and produced to Plaintiffs as of March 31, 2019, all such policies are
deemed to include this language (a) as of September 1, 2012, for all policies
associated with customers MetLife categorizes as "National Accounts" or
"Regional Market" accounts; and (b) as of December 31, 2012 for all policies
associated with customers MetLife categorizes as "Local Market" accounts.

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                                   Smith Class

            All life insurance beneficiaries of ERISA-governed
            employee benefit plans that were insured by group life
            insurance policies issued by MetLife that provide for
            payment in "one sum" for whom MetLife established a
            "Total Control Account" (a) between January 1, 2013 and
            March 31, 2019; and (b) between April 18, 2008 and
            December 31, 2012 for all policies that, at the time of the
            insured's death, contained the statement in the policy
            certificate or an endorsement to the policy certificate that
            expressly states that claims for benefits can be settled "by
            establishing an account that earns interest.

11.   The members of the Settlement Classes (and their respective heirs,

      beneficiaries, executors, administrators, estates, past and present partners,

      officers, directors, agents, attorneys, predecessors, successors and assigns)

      who did not make a valid3 request for exclusion from their respective

      Classes, shall be deemed conclusively to have released any and all Released

      Claims. "Released Claims" means any and all claims (including but not

      limited to "Unknown Claims"), demands, losses, rights, appeals, and causes

      of action of any nature whatsoever, that have been or could have been

      asserted in the Action or could in the future be asserted in any forum,

      whether foreign or domestic, whether arising under federal, state, common,

3 The Court approves the untimely requests for exclusion noted in the Declaration
[234] as valid. Any other untimely requests are invalid.

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or foreign law, by the Representative Plaintiffs, the Settling Plaintiffs, or

their successors, assigns,      executors, administrators, representatives,

attorneys, and agents, in their capacities as such, whether brought directly or

indirectly against any of the Released Parties, which (a) arise out of, are

based on, or relate in any way to any of the allegations, acts, transactions,

facts, events, matters, occurrences, representations, or omissions involved,

set forth, alleged, or referred to, in the Action, or which could have been

alleged in the Action, (b) arise out of, are based on, or relate to or pertain to

the establishment and/or use of Total Control Accounts to settle claims for

insurance, including but not limited to, the creation of Total Control

Accounts, the interest paid on Total Control Accounts, the investment of

funds related to the Total Control Accounts, and the earning or retention of

profits from the Total Control Accounts, or (c) are otherwise deemed

released in accordance with the provisions of the Settlement Agreements.

Released Claims include, but are not limited to, all claims, actions, rights or

causes of action arising under statutory or common law that were raised or

could have been raised in this litigation, including, without limitation, any

violation of ERISA or state law (including but not limited to any Georgia

state law claim, which includes but is not limited to any claim under
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      Q.C.G.A. § 33-25-10 or O.C.G.A. § 33-38-1, et seq.); any intentional

      wrongdoing; any fraud, misrepresentation or negligent misrepresentation;

      any breach of fiduciary duty; any breach of contract; any breach of the duty

      of good faith and/or fair dealing; any prohibited transactions; and includes

      any claims for damages, profits, interest, accounting for profits, unjust

      enrichment, attorneys' fees, punitive damages, or equitable relief. Released

      Claims do not, however, include claims to enforce the Settlement

      Agreements. For the avoidance of doubt, the Settlement Agreements shall

      not release the claims of any Class Member under any insurance policies

      unrelated to this case.

12.   No Class Member may directly, through representatives, or in any other

      capacity, commence any action or proceeding in any court or tribunal

      asserting any of the Released Claims against the Released Parties.

13.   Class Counsel, the Class Representatives, or the Class Members who did not

      make a valid request for exclusion from their respective Classes may

      hereafter discover facts in addition to or different from those that they know

      or believe to be true with respect to the Released Claims. Such facts, if

      known by them, might have affected the decision to settle with the

      Defendant and the Released Parties or the decision to release, relinquish,
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      waive, and discharge the Released Claims, or might have affected the

      decision of a Class Member not to object to the Settlements.

      Notwithstanding the foregoing, each Class Representative and Class

      Member who did not make a valid request for exclusion from their

      respective Classes has hereby fully, finally and forever settled, released,

      relinquished, waived and discharged any and all Released Claims, and each

      Class Representative and Class Member who did not make a valid request

      for exclusion from their respective Classes has hereby acknowledged that

      the foregoing waiver was bargained for separately and is a key element of

      the Settlements embodied in the Settlement Agreements of which this

      release is a part.

14.   In the Owens Class, the application by Class Counsel for reimbursement of

      expenses and reasonable attorneys' fees is granted. Attorneys' fees and

      expense reimbursement in an amount of $25,000,000.00 are hereby found to

      be reasonable and are awarded to Class Counsel.'         Class Counsel shall



4 As to the fee award for representation of the Owens Class and the Smith Class, the
Court has considered the factors set forth in Johnson v. Georgia Highway Express,
Inc., 488 F.2d 714 (5th Cir. 1974), abrogated on other grounds, Blanchard v.
Bergeron, 489 U.S. 87 (1989), other factors identified in Camden I Condo. Assoc.

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      recover such fees and expenses from the Settlement Fund as and in the

      manner described in the Settlement Agreement.         The Court finds that

      $25,000.00 shall be paid the named Plaintiff and Class Representative, Laura

      A. Owens, as an incentive award for her efforts in prosecuting this case.

      These awards shall be paid from the Settlement Fund as and in the manner

      described in the Settlement Agreement.

15.   In the Smith Class, the application by Class Counsel for reimbursement of

      expenses and reasonable attorneys' fees is granted. Attorneys' fees and

      expense reimbursement in an amount of $1,666,666.67 are hereby found to

      be reasonable and are awarded to Class Counsel.         Class Counsel shall

      recover such fees and expenses from the Settlement Fund as and in the

      manner described in the Settlement Agreement.          The Court finds that

      $10,000.00 shall be paid the named Plaintiff and Class Representative,

      Joshua R. Smith, as an incentive award for his efforts in prosecuting this

      case. These awards shall be paid from the Settlement Fund as and in the

      manner described in the Settlement Agreement.



v. Dunkel, 946 F.2d 768, 774 (11th Cir. 1991), and "additional factors unique to
[this] particular case...." Camden I, 946 F,2d at 775.

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16.     Pursuant to the Settlement Agreements, the Settlement Funds shall bear all

        notice costs, costs associated with payment of the settlement proceeds,

        Settlement Administrator fees, Class Counsel's attorneys' fees and expenses,

        and incentive awards to the named Plaintiffs in each Class.

17.     The Settlement Administrator shall have final authority to determine the

        share of the Net Settlement Amount to be allocated to each Class Member

        who did not make a valid request for exclusion from their respective Classes.

18.     This action is hereby dismissed with prejudice as to the Settled Claims of the

        Settlement Class Members of the Owens Class and the Smith Class, and

        without taxable costs to the parties.

19.     The Court expressly finds that there is no just reason for delay and, pursuant

        to Federal Rule of Civil Procedure 54(b), directs the entry of final judgment

        as to all claims and matters except those listed below in this paragraph. The

        Court reserves jurisdiction, without affecting the finality of this Judgment,

        over:

        a.      Implementation of the Settlements;

        b.      Disposition of the Settlement Funds;5 and


5   This includes the resolution of M. Scott Barrett's Motion to Determine Allocation

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      c.    Enforcing and administering the Settlement Agreements.

20.   Upon entry of this Order, all Class Members who did not make a valid

      request for exclusion from their respective Classes shall be bound by the

      Settlement Agreements as amended and by this Final Order.

      IT IS SO ORDERED, this the    /9 lay of /i/
                                                es2.frem-vh,L        , 2019.



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                                    Richard . Story
                                    United States District Judge




of Attorney Fee Award to Former Counsel [222].

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